Case No. 1:18-mc-00030-PAB Document 7-2 filed 04/10/18 USDC Colorado pg 1 of 5




                                     EXHIBIT 1
Case No. 1:18-mc-00030-PAB Document 7-2 filed 04/10/18 USDC Colorado pg 2 of 5
Case No. 1:18-mc-00030-PAB Document 7-2 filed 04/10/18 USDC Colorado pg 3 of 5
Case No. 1:18-mc-00030-PAB Document 7-2 filed 04/10/18 USDC Colorado pg 4 of 5
Case No. 1:18-mc-00030-PAB Document 7-2 filed 04/10/18 USDC Colorado pg 5 of 5
